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                            UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: NATIONAL FOOTBALL LEAGUE                      )     No. 12-md-2323 (AB)
PLAYERS’ CONCUSSION INJURY LITIGATION                )
__________________________________________           )
                                                     )     MDL No. 2323
THIS DOCUMENT RELATES TO:                            )
                                                     )
Plaintiffs’ Master Administrative Long Form          )     NOTICE OF ATTORNEY’S LIEN
Complaint and                                        )
                                                     )
ROBERT J. CRYDER and LISA CRYDER, Plaintiffs,
                                                     )
USDC, EDPA, Docket No. 2:14-cv-02064-AB
                                                     )
__________________________________________
                                                     )
                                                     )


       Attorney Jason E. Luckasevic and Goldberg, Persky & White, P.C., attorneys for Plaintiffs,

Robert J. Cryder and Lisa Cryder in the above entitled action, hereby notify this Court and all

parties that they have a lien in this case for reasonable contingent attorney’s fees plus expenses as

set forth in the accompanying Petition to Establish Attorney’s Lien relating to Plaintiffs Robert J.

Cryder and Lisa Cryder.


Dated: September 30, 2021                    Respectfully submitted,

                                             GOLDBERG, PERSKY & WHITE, P.C.


                                             /s/ Jason E. Luckasevic
                                             Jason E. Luckasevic, Esquire
                                             PA Bar No. 85557
                                             11 Stanwix Street, Suite 1800
                                             Pittsburgh, PA 15222
                                             Phone: 412-471-3980
                                             Fax: 412-471-8308
                                             jluckasevic@gpwlaw.com
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                                CERTIFICATE OF SERVICE


       I hereby certify that I caused the foregoing Notice of Attorney’s Lien to be served via the

Electronic Case Filing (ECF) system in the United States District Court for the Eastern District

of Pennsylvania on all parties registered for CM/ECF in the litigation.




Dated: September 30, 2021                    /s/ Jason E. Luckasevic
                                             Jason E. Luckasevic, Esquire
                                             PA Bar No. 85557
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                             UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA



IN RE: NATIONAL FOOTBALL LEAGUE                         )     No. 12-md-2323 (AB)
PLAYERS’ CONCUSSION INJURY LITIGATION                   )
__________________________________________              )
                                                        )     MDL No. 2323
                                                        )
THIS DOCUMENT RELATES TO:                               )
                                                        )     PETITION TO ESTABLISH
Plaintiffs’ Master Administrative Long Form             )     ATTORNEY’S LIEN
Complaint and                                           )
                                                        )
ROBERT J. CRYDER and LISA CRYDER, Plaintiffs
                                                        )
USDC, EDPA, Docket No. 2:14-cv-02064-AB
                                                        )
__________________________________________              )
                                                        )



        Now comes the Petitioner, Jason E. Luckasevic, Esquire for Goldberg, Persky & White,

P.C., (“GPW”) pursuant to an executed retainer agreement, and states:

        1.      Petitioners are attorneys at law admitted to practice before the Courts of

Pennsylvania, and file this Petition to establish a lien for attorney’s fees as set forth hereinafter.

        2.      On or about August 20, 2013, Jason E. Luckasevic and GPW were retained and

employed by the Plaintiffs, Robert J. Cryder and Lisa Cryder, pursuant to a contingency fee

agreement for legal services, to pursue a claim for injuries and damages allegedly caused by the

National Football League’s conduct associated with football-related concussions, head, and brain

injuries.

        3. Mr. Cryder’s contingency fee agreement contains the following terms:

             I agree that the attorney’s fees for services rendered shall be forty percent (40%) of

             the gross amount that is received or collected by reason of any suit or by reason of
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             any settlement, unless a different percentage is required by applicable state law, plus

             reimbursement of all advanced costs if an action is filed in court or arbitration.

                Furthermore, on September 17, 2014, GPW notified clients that they were

             reducing the fee to twenty-five (25%) percent.

                The agreement also states that “It is understood the litigation may involve

             multiple plaintiffs and all costs incurred by my attorneys during this litigation may be

             pro-rated among each plaintiff.”

                Furthermore, the agreement states that “I understand that all such costs of

             prosecution that I may owe on any recovery I may receive as a result of this

             representation will be deducted from my settlement or judgment proceeds.”

                Finally, the Retainer Agreement states that “It is agreed and understood that this

             employment is upon a contingent fee basis, and if no recovery is made, I will not be

             indebted to my said attorneys for any sum whatsoever as attorney’s fees or costs.”

        4.      When Petitioners entered into this contract with Plaintiff, Petitioners through

originating the litigation entered into the extreme risk and the entire expected expense of the

ligation.

        5.      From the date the Petitioner was authorized to proceed on behalf of the Plaintiff,

the Petitioner has actively and diligently investigated, prepared, and pursued Plaintiff’s claims,

and has taken all steps necessary to prosecute those claims including, but not limited to,

correspondence and communications with the client, preparation and review of client’s factual

and legal circumstances, retaining experts, drafting and providing client updates, analyzing

Plaintiff’s medical status and need for medical testing, and complying with every step of the

Case Management Order and/or settlement agreement.
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       6.      The Plaintiff has discharged the Petitioners as his attorneys in this matter, and it is

expected that a new attorney will be pursuing representation to the Plaintiff in this action.

       7.      Petitioners were not terminated due to any malfeasance or other improper action.

       8.      The Petitioners claim the right to have a lien for attorney’s contingent fees and

expenses established and enforced upon any sums to be derived from any settlement or judgment

obtained or to be obtained by Plaintiff in this action.

       WHEREFORE, the Petitioners pray:

       (1)   That an attorney’s lien be established;

       (2)   That the amount of the lien be determined;

       (3)   That the Court order that Petitioner be entitled to enforce an attorney’s lien against

             the proceeds to be derived from any settlement or judgment in this action;

       (4)   That the Defendant or the Defendant’s insurer be prohibited from paying to the

             Plaintiff and/or his present lawyer any sums of money until said lien has been

             satisfied; and

       (5)   For such other further relief as this Court deems just.

Dated: September 30, 2021                                 Respectfully submitted,

                                                          GOLDBERG, PERSKY & WHITE, P.C.

                                                          /s/ Jason E. Luckasevic
                                                          Jason E. Luckasevic, Esquire
                                                          PA Bar No. 85557
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        Case 2:12-md-02323-AB Document 11491 Filed 09/30/21 Page 6 of 6




                                CERTIFICATE OF SERVICE


       I hereby certify that I caused the foregoing Petition to Establish Attorney’s Fees to be

served via the Electronic Case Filing (ECF) system in the United States District Court for the

Eastern District of Pennsylvania on all parties registered for CM/ECF in the litigation.




Dated: September 30, 2021                    /s/ Jason E. Luckasevic
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